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                                   UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA

    v.                                                                Case No. 1:21-CR-292-1-RCL

    CHRISTOPHER WORRELL,

            Defendant.


                                                       ORDER

           On 1/26/2023, Attorney Joseph W. Allen, who represents the defendant, Christopher

Worrell, moved to withdraw as counsel in this matter. Mot. to Withdraw, ECF No. 205. Attorney

Allen argues that this withdrawal should be granted because an additional attorney representing

Mr. Worrell, William Shipley, would be available for the trial. Id. Furthermore, Attorney Allen

represents that he “has been kept in the dark by both the Defendant and co-counsel as to any

preparations for trial as well as remaining uninformed and unapprised of any actions taken on

Defendant’s behalf by co-counsel.” Id. The Court DENIES Attorney Allen’s motion pursuant to

Local Rule 44.5(d).

           “The Court may deny a motion to withdraw if the attorney’s withdrawal would unduly

delay trial of the case or be unfairly prejudicial to any party, or otherwise not be in the interests of

justice.” Local Rule 44.5(d). Granting the motion here is necessary to ensure that trial, which has

already been postponed before, is not unduly delayed. Furthermore, it would otherwise not be in

the interests of justice to grant the motion for the reasons that follow.

           Earlier this month, the Court permitted a different counsel for Christopher Worrell, Alex

Reed Stavrou, Sr., to withdraw as counsel. 1 Minute Order (1/4/2023); Order (“Order Continuing


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    Attorney Stavrou had, in turn, replaced an earlier counsel, John Pierce. Order, ECF No. 102.



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Trial”), ECF No. 202. The Court also set a 2/13/2023 trial date based on the government’s request

for that date, which the defense did not previously oppose. Order, ECF No. 197. Immediately

after these actions, a member of Attorney Shipley’s staff emailed this Court and represented that

Attorney Shipley and Attorney Allen were unavailable to try a case during the week of 2/13/2023

due to other court matters and requested that the trial date be continued. Order, ECF No. 198. The

Court then ordered both attorneys to provide the details of their conflicts. Id. Attorney Allen

stated in a filing that he would be available for a 3/13/2023 trial date. ECF No. 199-1. The Court

concluded that Attorney Shipley would also be available for trial that week based on his

representations to this Court regarding his other engagements as well as his conversations with

government counsel. Order Continuing Trial; ECF No. 199; ECF No. 200.

       The Court concludes that allowing Attorney Allen to withdraw would likely result in a

further, undue, delay in the trial date. Indeed, that is precisely what happened the last time the

Court permitted a defense attorney for Mr. Worrell to withdraw. The current trial date, now a little

more than a month away, was set based in part on Attorney Allen’s representation that he would

be available. Attorney Shipley, on the other hand, has still not represented on the record that he

will be ready for the current trial date. And he asserted only a few weeks ago that his recent

appearance in this matter (11/22/2022), along with his other work, mean he has “had no time to

review any discovery or the facts of the case.” ECF No. 200. What this Court will not allow is

withdrawal by Attorney Allen, followed by Attorney Shipley representing that he cannot

adequately represent Mr. Worrell on 3/13/2023 alone. Courts in this District have been faced with

such situations before. See, e.g., United States v. Bailey, No. 19-cr-0156 (CKK), 2021 WL

5798045, at *1–5 (D.D.C. Dec. 7, 2021) (making the “difficult choice to grant [a] Motion to

Withdraw” on the eve of a fifth trial date because defense counsel’s utter lack of preparation




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threatened “a ‘complete denial of counsel’” (citation omitted)). Though the Court is mindful of

Attorney Allen’s alleged challenges communicating with his co-counsel and client, it will not grant

his motion pursuant to Local Rule 44.5(d).

       Given the circumstances of this case, there is a substantial risk that permitting withdrawal

would unduly delay trial. Additionally, such a withdrawal is not in the interests of justice.

Consequently, the Court ORDERS that Attorney Allen’s motion to withdraw be DENIED.

       IT IS SO ORDERED.



Date: January 31, 2022                                      /s/ Royce C. Lamberth
                                                            ________________________
                                                            Royce C. Lamberth
                                                            United States District Judge




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